          Case 6:00-cr-06155-DGL         Document 587       Filed 09/21/06      Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                       Plaintiff,

                                                                      ORDER

                                                                      00-CR-6151L

                         v.

RICHARD N. AMICO,
Register No. 10693-055


                              Defendant.
________________________________________________


          By Order entered September 1, 2006, the United States Court of Appeals for the Second

Circuit remanded this case to this Court to entertain a renewed motion for bail pending appeal from

defendant’s conviction and sentence of November 4, 2003. Pursuant to the Order of the Second

Circuit, this case has been assigned to me.

          This Court held a hearing on September 21, 2006, and in light of the Second Circuit Order,

and their being no opposition by the Government, defendant is released from custody pending

appeal, with conditions as contained in a separate release order, entered this date.

          Therefore, it is hereby

          ORDERED that any prior order detaining defendant Richard N. Amico is vacated and, it is

further
       Case 6:00-cr-06155-DGL         Document 587       Filed 09/21/06     Page 2 of 2




        ORDERED that defendant is hereby released from the custody of the Federal Bureau of

Prisons pending appeal of his conviction to the United States Court of Appeals for the Second

Circuit, and it is further

        ORDERED that the United States Marshal is directed to release defendant Richard N. Amico

in Rochester, New York forthwith.

        IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge


Dated: Rochester, New York
       September 21, 2006.




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